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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        SOUTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
vs.                                              ) CRIMINAL CASE NO. 08-00036-CG
                                                 )
RICARDO BALTIERRA CARREON,                       )
                                                 )
       Defendant.                                )

                                            ORDER

       The above-styled action came on for trial by jury on April 1, 2008, before the Honorable

Callie V. S. Granade, Chief United States District Judge. The jury was selected, but not sworn

before the Honorable Magistrate Judge William E. Cassady, on March 31, 2008.

       On April 1, 2008, the court held an in camera hearing, at which counsel were advised that

juror Betty Turberville did not appear for service because she thought the case had been

cancelled. The parties had no objection to the court’s excusing Ms. Turberville, and proceeding

with a panel of thirteen jurors. During the hearing, the government orally moved in limine (Doc.

45) to preclude the defendant from mentioning evidence regarding co-defendant Noriega’s plea

or dismissal by the government of count one. The court GRANTED the motion in part, finding

that the fact that defendant Noriega pled to a felony would be admissible for impeachment

purposes only. The jury was then duly sworn, and trial commenced.

       The United States presented its case-in-chief, and rested. At the close of the

government’s case, the defendant orally moved for judgment of acquittal pursuant to Rule 29 of

the F.R.Cr.P. (Doc. 46). The court found that there was sufficient circumstantial evidence for

the case to go to the jury, and DENIED the motion. The defendant presented no evidence, and

rested. At the close of all the evidence, the defendant orally renewed his motion for judgment of
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acquittal (Doc. 47), and said motion was DENIED.

       The court held a charge conference with counsel, then the respective parties presented

their closing arguments to the jury. After closing arguments, the defendant orally moved for

declaration of mistrial based on comments made by the government which the defense perceived

as commenting on defendant’s right to remain silent (Doc. 48), and said motion was DENIED as

the court found that the government’s statements were not improper. The court then charged the

jury on the applicable law, and the jury commenced their deliberations.

       On April 2, 2008, prior to a verdict being returned, the parties advised the court that they

had reached an agreement to resolve the case. An arraignment and change of plea hearing was

held, and the court’s findings were entered by separate order.

       The jury was discharged.

       DONE and ORDERED this the 2nd day of April, 2008.


                                             /s/ Callie V. S. Granade
                                             CHIEF UNITED STATES DISTRICT JUDGE




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